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                                No. 23-55714

                   UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
                             ________________

              CHAYA LOFFMAN AND JONATHAN LOFFMAN, ET AL.,

                                                       Plaintiffs-Appellants,

                                       v.

               CALIFORNIA DEPARTMENT OF EDUCATION, ET AL.,

                                             Defendants-Appellees.
                             ________________

           On Appeal from the United States District Court for the
                       Central District of California,
                            No. 2:23-cv-01832
                           ________________

       BRIEF FOR AMICUS CURIAE MANHATTAN INSTITUTE
           IN SUPPORT OF PLAINTIFFS-APPELLANTS
                      ________________

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November 1, 2023
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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), the Manhattan

Institute certifies that it does not have a parent corporation and that no publicly held

corporation owns more than ten percent of its stock.




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                       INTEREST OF AMICUS CURIAE 1

       The Manhattan Institute is a nonprofit public policy research foundation

whose mission is to develop and disseminate new ideas that foster economic choice

and individual responsibility. It has a longstanding interest in preserving and

growing educational freedom. To that end, it has historically sponsored scholarship

supporting individual and parental rights in schooling, including expanding options

for educational programs. This case concerns amicus because it involves a blatant

violation of First Amendment protections by a state actor in the educational space.

                          SUMMARY OF ARGUMENT

       This Court is no stranger to the fact that public schools and state governments

occasionally require admonishment to “stop being hostile to religion.” Kennedy v.

Bremerton Sch. Dist., 4 F.4th 910, 945 (9th Cir. 2021) (Nelson, J., dissenting from

denial of rehearing en banc), rev’d, 142 S.Ct. 2407 (2022). This case requires such

an admonition: When California places a child with disabilities in a private school

“as the means of carrying out” its obligations under the Individuals with Disabilities

Education Act (“IDEA”), 20 U.S.C. §1412(a)(10)(B)(i), it voluntarily provides to

students in private schools the same benefits as those given to students in public



   1
     All parties have consented to the filing of this brief. Pursuant to Federal Rule
of Appellate Procedure 29(a)(4)(E), amicus curiae states that no party or counsel for
a party other than amicus, its members, or its counsel authored this brief in any part
or made a monetary contribution intended to fund its preparation or submission.
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schools. But once California allows certain services to be used at its “certified”

“nonpublic” schools, see Cal. Educ. Code §56505.2(a), it favors some nonpublic

schools over others solely because of religious affiliation. The district court’s

opinion forces parents and students in need of special education into a Hobson’s

choice: forfeit essential educational benefits available only to those attending secular

schools—both public and private—or forfeit a religious education altogether. That

imposition runs headlong into the U.S. Constitution, which allows states and

localities to accomplish legitimate objectives while steering a course of religious

neutrality but does not require governments to choose between discriminating or

withholding benefits.

      The Supreme Court faced just that question in Carson v. Makin, 142 S.Ct.

1987 (2022), the capstone in a recent trio of cases holding that schools cannot sustain

sectarian discrimination under the Free Exercise Clause. See Trinity Lutheran

Church of Columbia, Inc. v. Comer, 582 U.S. 449 (2017); Espinoza v. Montana Dep’t

of Rev., 140 S.Ct. 2246 (2020). Carson, in particular, should control here: the Court

there considered a program that excluded religious private schools from public

benefits and determined that the exclusion violated the Free Exercise Clause. In

other words, the government cannot selectively open up government benefits for use

by secular, but not religious, institutions.




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      The district court attempted to circumvent Carson by reframing the program

at issue as “a framework for certain private schools to contract with the State to

provide the State’s public education.” ER46. But that rejoinder contravenes both

Carson and Fulton v. City of Philadelphia, 141 S.Ct. 1868 (2021). In both those

cases, the Court made clear that the government cannot flout the constraints of the

Free Exercise Clause by relabeling private institutions public or by embedding

express discrimination against religion in its contract policies. California cannot

now avail itself of the same, worn-out arguments repeatedly rejected by the Court

and expect a different result here.

      Finally, there is no valid justification for—let alone a compelling state interest

in—categorically preventing disabled students from receiving special education

benefits at the school that a local education agency (“LEA”) determines is best solely

because that school is religious. Individualized education program (“IEP”) teams

are obligated to holistically consider a child’s needs when developing a plan specific

to that child. See 20 U.S.C. §1414(d)(3)(A). But California’s policy bars the child

from receiving a placement—no matter how considered, appropriate, or necessary—

whenever the proposed school fails to qualify as “nonsectarian.” Cal. Educ. Code

§56365(a). That policy diminishes opportunities for the very children who are most

in need of learning environments tailored to their needs, and it does so when (and




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only when) the government otherwise believes that a religious school can best serve

a disabled child under the IDEA.

      This is not a close case. This Court should reverse.

                                   ARGUMENT

I.    California Discriminates Against Students’ Educational Programs
      Expressly and Exclusively Because of Their Religious Affiliation.

      The basic command of the Religion Clauses of the First Amendment is

neutrality. See, e.g., Epperson v. Arkansas, 393 U.S. 97, 104 (1968). States may

neither confer benefits on individuals or institutions because of their religious

identity nor single them out for disfavored treatment. See, e.g., Everson v. Bd. of

Educ. of Ewing Twp., 330 U.S. 1, 18 (1947) (“State power is no more to be used so

as to handicap religions, than it is to favor them.”). Neutrality extends not just to

affirmative regulatory legislation, but also to government benefits decisions. See,

e.g., Good News Club v. Milford Cent. Sch., 533 U.S. 98, 114 (2001) (“For the

‘guarantee of neutrality is respected, not offended, when the government, following

neutral criteria and evenhanded policies, extends benefits to recipients whose

ideologies and viewpoints, including religious ones, are broad and diverse.’”

(quoting Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 839 (1995)).

Thus just as “[t]he government may not . . . impose special disabilities on the basis

of religious views or religious status,” Emp’t Div. v. Smith, 494 U.S. 872, 877 (1990),

the Court has recently—and “repeatedly”—held that a state violates the Constitution


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whenever it “excludes religious observers from otherwise available public benefits.”

Carson, 142 S.Ct. at 1996.

      The Supreme Court confronted a case with facts indistinguishable from the

instant case just last year in Carson, 142 S.Ct. 1987. Because Maine could not

adequately provide for all its students in public schools—Maine’s sparsely

distributed population made local public schooling impractical in certain rural

areas—the state created a program allowing some students to enroll in private

schools. Id. at 1993. The Court held that Maine’s exclusion of religious institutions

from that program violated the Free Exercise Clause. Id. at 2002. This Court should

likewise reject California’s restriction of benefits on the basis of religion and its

attempt to redefine the benefit as a (private-school delivered) public education.

      First, California illegally restricts a benefit purely on the basis of religious

affiliation. In Carson, Maine provided for rural students through a “program of

tuition assistance” that parents could direct to private schools. Id. at 1993. It

conditioned that aid, however, on its use only at “nonsectarian” institutions. Id. at

1994. Maine considered sectarian any school “associated with a particular faith or

belief system and which, in addition to teaching academic subjects, promotes the

faith or belief system with which it is associated and/or presents the material taught

through the lens of this faith.” Id. (citation omitted). The Court in Carson explained

that “Maine offer[ed] its citizens a benefit” in the form of “tuition assistance



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payments for any family whose school district does not provide a public secondary

school.” Id. at 1997. And while a “wide range of private schools” were eligible to

receive that benefit, religious schools were “disqualified” “solely because of their

religious character.” Id. “By conditioning the availability of benefits in that manner,

Maine’s tuition assistance program . . . effectively penalize[d] the free exercise of

religion.” Id. (quotation marks and alterations omitted). The law was thus subject

to strict scrutiny. Id.

       The same logic that felled Maine’s exclusion in Carson also dooms

California’s restriction here. California, too, provides a benefit to some students in

the form of full IDEA benefits at private schools. See 20 U.S.C. §1412(a)(10)(B);

Cal. Educ. Code §§56365-56366. And California limits its benefit—full-fledged

LEA placement of disabled children in private institutions—to “nonsectarian”

schools. Cal. Educ. Code §56365(a). 2 A “wide range of private schools,” Carson,

142 S.Ct. at 1997, can become certified nonpublic schools and thus eligible to



   2
      Indeed, California defines sectarian institutions even more broadly than Maine
did as any school “owned, operated, controlled by, or formally affiliated with any
religious group or sect.” Cal. Code Regs. tit. 5, §3001(p); see Carson, 142 S.Ct. at
1994 (“Affiliation or association with a church or religious institution is one
potential indicator of a sectarian school, but it is not dispositive.” (alteration and
quotation marks omitted)). And California’s definition is strikingly similar to the
offending provision at issue in Espinoza, which prohibited aid to “any church,
school, academy, seminary, college, university, or other literary or scientific
institution, controlled in whole or in part by any church, sect, or denomination.” 140
S.Ct. at 2252 (quoting Mont. Const., Art. X, §6(1)).


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receive students placed with California’s full IDEA benefits.           But religious

institutions cannot be among them. “By conditioning the availability of benefits in

that manner,” California “effectively penalizes the free exercise” of plaintiffs. Id.

(quotation marks and citation omitted).

       By “benefit,” the Carson Court did not mean solely a parentally directed

subsidy—contrary to what the district court erroneously seemed to believe. 3 Instead,

any benefit running to private institutions, whether designed to “subsidize” private

education as such or not, cannot carve out an exception for religious schools. This

is plain from the face of Carson because the Court there explained that it was merely

restating the “unremarkable principles applied” in two other cases, Trinity Lutheran

Church of Columbia, Inc. v. Comer, 582 U.S. 449 (2017), and Espinoza v. Montana

Department of Revenue, 140 S.Ct. 2246 (2020).           Carson, 142 S.Ct. at 1997

(quotation marks omitted). In Trinity Lutheran, the program at issue was a state

grant for nonprofit entities to purchase “rubber playground surfaces made from

recycled tires,” and the state “categorically disqualif[ied] churches and other

religious organizations from receiving grants.”       582 U.S. at 454.      That was



   3
     See, e.g., ER47 (“How we define the benefit at issue here is critical . . . If
Plaintiffs are correct that [California’s system] subsidizes a private education . . .
then this case is on all fours with Carson . . .”); ER50 (ultimately rejecting the Free
Exercise claim because “[c]haracterizing the NPS system as a mechanism for
subsidizing private instruction of IDEA-eligible children is erroneous as a matter of
law”).


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impermissible, the Court explained, because it “put” each religious nonprofit “to a

choice: It may participate in an otherwise available benefit program or remain a

religious institution.” Id. at 462. In Espinoza, weighing a government-backed

scholarship program, the Court held that Montana could not “bar[] religious schools

from public benefits solely because of the religious character of the schools.” 140

S.Ct. at 2255. The provision there “plainly exclude[d] schools from government aid

solely because of religious status,” id., that is, it barred any religious school from

eligibility “simply because of what it is,” id. at 2257 (quoting Trinity Lutheran, 582

U.S. at 464). Thus under Carson and the cases on which it relied, a state cannot

provide a benefit and then “expressly discriminate against otherwise eligible

recipients by disqualifying them . . . solely because of their religious character.”

Carson, 142 S.Ct. at 1996 (alteration omitted) (quoting Trinity Lutheran, 137 S.Ct.

at 2021); see id. at 1997 (similarly citing Espinoza, 140 S.Ct. at 2255). The benefit

provided by California—tailored special education resources guided by the IEP

team—is subject to First Amendment protections just as much as parent-directed

tuition assistance.

      Second, the state wrongly attempts to evade scrutiny by deeming private

schools public. The district court adopted California’s argument that it may exclude

religious schools from IDEA placements in service of providing a “public




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education.” ER51. That was precisely the argument the Court rejected in Carson,

and it is just as spurious here.

      In Carson, Maine too argued that it did “not offer parents a choice of publicly

funded alternatives to public schools,” but instead was offering parents the ability to

“obtain a public education for their children” by selecting “from among a small

group of private schools” that had sufficiently “demonstrate[d] to the State” that they

provided a “suitable equivalent” to public education. Brief for Respondents at 6-7,

Carson v. Makin, No. 20-1088 (May 21, 2021); see also Carson, 142 S.Ct. at 1998

(“[t]he public benefit Maine [was] offering is a free public education”); accord ER51

(“A child’s enrollment in [a nonpublic school] is equivalent to enrollment in the

State’s public education system . . . .”). But whatever Maine opted to call the

purposes of its program, it enlisted private institutions, which controlled their own

operations and directed their own curricula, to aid in its public purpose.      “[T]he

curriculum taught at participating private schools need not even [have] resemble[d]

that taught in the Maine public schools.” Id. at 1999. Private schools could “be

single-sex.” Id. They could be located outside the state, or even abroad. Id. So

while the private schools received public support, that did not convert the education

within their walls into a public education or render it a fungible good. See Espinoza,

140 S.Ct. at 2261 (explaining that under the government’s position, “an interest in




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public education is undermined by diverting government support to any private

school, yet the [challenged] provision bar[red] aid only to religious ones”).

      The same is true here. As in Carson, certified nonpublic schools can have

entirely different curricula from those in public schools; indeed, plaintiffs ably detail

several such schools with express ideological commitments. See Opening.Br.11-14.

Also as in Carson, certified schools can be single-sex. See id. And—also as in

Carson—certified schools need not even be located within state borders. Cal. Educ.

Code §56365(f)-(i). To be sure, the state provides and directs the special education

benefits, just as the state in Carson provided and directed funding. But the private

school controls the rest of the educational experience. After all, that is why an LEA

would deem a public school inadequate and place a student in a private school in the

first place—because private schools are different, both from public schools and from

each other. See id. §56366 (describing nonpublic schools as “an alternative special

education service”). In reality, California insists that public and private schools be

“equivalent” in order to receive tailored IDEA support only selectively, and in the

limited sense “that they must both be secular.” Carson, 142 S.Ct. at 1999.

      Nor does it matter that California puts other constraints on certified nonpublic

schools that may receive IDEA placements. It was not enough, after all, that Maine

imposed certain requirements on eligible private schools, similar to California’s, that

they be accredited, keep small-enough class sizes, and include certain courses from



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a state-mandated curriculum. Carson, 142 S.Ct. at 1993 (noting mandatory private-

school courses on “Maine history, including the Constitution of Maine and Maine’s

cultural and ethnic heritage” (alteration omitted)). What matters is that if a religious

school satisfies all other requirements, California still bars it from program

participation—the state “condition[s]” eligibility “on the surrender” of religious

status. McDaniel v. Paty, 435 U.S. 618, 626 (1978); see also Trinity Lutheran, 582

U.S. at 462 (“[W]hen the State conditions a benefit in this way, McDaniel says

plainly that the State has punished the free exercise of religion.”).              The

“administration of that benefit” is thus “subject to the free exercise principles

governing any such public benefit program—including the prohibition on denying

the benefit based on a recipient’s religious exercise.” Carson, 142 S.Ct. at 2000.

II.   The District Court’s Contrary Reasoning Strains Credulity.

      None of the distinctions considered by the district court comes close to

moving this case outside of the ambit of Carson.

      First, the court seemed to suggest that, because California was merely trying

to provide a “public education,” it had carte blanche to select private schools with

whom to contract as it saw fit. See ER49 (“The nonsectarian requirement only

affects with what private institutions LEAs in California may contract to provide

eligible children with a FAPE when placement in a private institution is necessary to

implement the child’s IEP.”). That argument fails not only because it is irrelevant



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whether private schools operate in service of a “public education,” see supra Part I,

but also because the court’s argument would imply that the government can

discriminate at will when selecting contractors in furtherance of public purposes.

That conclusion is untenable.

      In Fulton, for example, the Court addressed an identical argument that a state

has a “freer hand” to impose requirements on contractors than it does the general

public. 141 S.Ct. at 1878. Even assuming that a “more deferential approach” was

possible in this context, the Court explained, the government still may not

“discriminate against religion when acting in its managerial role.” Id. The upshot

is clear: California cannot couch its express discrimination in its power to select

contractors. And yet, the state’s “rule is simple: No churches need apply.” Trinity

Lutheran, 582 U.S. at 465. So “[r]egardless of how the benefit and restriction are

described, the program operates to identify and exclude otherwise eligible schools

on the basis of their religious exercise.” Carson, 142 S.Ct. at 2002.

      Second, the district court repeatedly remarked on a separate IDEA provision

that allows parents to opt out of full IDEA services entirely and place their child in

any private school of their choosing, accepting more limited public support instead.

See, e.g., ER47 (contrasting public education under IDEA with “some families . . . .

opt[ing] for private education”); see also ER49.        That provision, 20 U.S.C.

§1412(a)(10)(A), provides watered-down IDEA benefits and is not the subject of the



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challenge here. It would of course also be unconstitutional for that limited-services

provision to exclude religious schools. But it is just as unconstitutional to exclude

religious schools from direct, full IDEA benefits and relegate them to second-class

status simply because they are religious. See Carson, 142 S.Ct. at 1996.

      For example, the court summed up its view of the plaintiffs’ dilemma by

noting that they “have elected that their children receive a FAPE with the support of

an IEP at public schools rather than the alternative available to them under the IDEA:

enrolling the children in a private school of their choice where they can receive

publicly funded equitable services.” ER52. But that glib characterization misses

that there is another alternative under the IDEA in the form of full-fledged IEP team

placement in private schools—just not, in California, religious ones. Similarly, the

court reasoned that “[a]ccepting an LEA’s FAPE offer limits all parents’ ability to

enroll their children in private school, regardless of whether their private school of

choice is religious or not.” ER53. But those limitations, of course, are different in

kind. Deferring to an LEA’s decision leaves the option of a secular private school

on the table, but it removes the possibility of a religious private school altogether.

“The express discrimination against religious exercise here is not the denial of a

grant, but rather the refusal to allow [a religious school]—solely because it is

[religious]—to compete with secular organizations for a grant.” Trinity Lutheran,

582 U.S. at 463.



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                                    *     *      *

       “[T]he minimum requirement of neutrality is that a law not discriminate on its

face.” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 533

(1993). And while Free Exercise jurisprudence has come a long way from the

opacity of permitting books, not maps, and maybe atlases, see Richard W. Garnett

& Jackson C. Blais, Religious Freedom and Recycled Tires: The Meaning and

Implications of Trinity Lutheran, 2016-2017 Cato Sup. Ct. Rev. 105, 105 (2017),

Carson and the precedents on which it relied make plain that California’s law does

not meet even this Nation’s minimum neutrality precondition.

III.   No Compelling Interest Justifies California’s Sweeping, Opportunity-
       Crushing Rule.

       Because the district court concluded that California was just a proprietor

selecting among schools with which to contract, and that its bar on religious schools’

eligibility for those contracts did not trigger a Free Exercise analysis, it did not

consider whether the state’s regime survives strict scrutiny. It emphatically does not.

       “[A] law targeting religious beliefs as such is never permissible.” Lukumi,

508 U.S. at 533. When a law excludes institutions from a benefit “solely because

they are religious,” the law must survive the “strictest scrutiny.” Carson, 142 S.Ct.

at 1997 (quoting Espinoza, 140 S.Ct. at 2261). To do so, “government action must

advance interests of the highest order and must be narrowly tailored in pursuit of

those interests.” Espinoza, 140 S.Ct. at 2260 (quotation marks omitted). That


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standard “is not watered down but really means what it says.” Lukumi, 508 U.S. at

546 (quotation marks and alterations omitted). Applying that test, the Court has

made clear that when the “State pursue[s] its preferred policy to the point of

expressly denying a qualified religious entity a public benefit solely because of its

religious character,” “that goes too far.” Trinity Lutheran, 582 U.S. at 466.

      There is no legitimate basis for California’s law. At the outset, the state cannot

justify its policy based on a purported desire to give all students the same secular

education. “Saying that [California] offers a benefit limited to private secular

education is just another way of saying” that California does not extend special

education benefits “to religious schools.” Carson, 142 S.Ct. at 1999. Indeed, the

law’s special disfavor for religion is palpable, as California allows other schools with

expressly ideological commitments to operate consistent with those commitments,

while prohibiting sectarian-affiliated schools from operating with IDEA placements

at all. See Opening.Br.11-14.

      But what makes California’s discriminatory policy especially egregious is that

it limits opportunity for the very students who need tailored, individualized

educational programs the most of all. See Nicole Garnett, Unlocking the Potential

of Private-School Choice, Manhattan Institute Policy Report, at 8 (March 2023)

(available at https://shorturl.at/iBJVY) (“students with disabilities” are chief among

the “children who are not well served by district public schools”). The entire point



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of the IDEA was to satisfy disabled children’s “unique needs” and adapt their

educational experiences to their specific disabilities. 20 U.S.C. §1400(d)(1)(A).

And California’s private placement scheme is designed to individualize those

accommodations even further, enrolling students in nonpublic schools when “no

appropriate public education program is available.” Cal. Educ. Code §56365(a).

Religious schools are, in appropriate cases, uniquely suited to provide that tailoring.

      The plaintiff children here provide a perfect example because public schools

have proven wholly unable to satisfy their needs. The schools’ shortcomings can be

quotidian—including repeatedly serving plaintiff children nonkosher food, see

ER166-67, ER174, ER262, ER266-67; depriving them of special education days

because of lack of coordination with the Jewish holidays, see id.; and reprimanding

plaintiff parents for their children’s absence on those holidays, even to the point of

questioning their “interpretation” of the requirements of Judaism, see ER166-67,

ER266-67. But the programs’ deficiencies also run deep, by not equipping plaintiff

children with the tools they need to navigate the institutions and Jewish faith

permeating their families’ religious lives.     See, e.g., ER157. An appropriate

Orthodox Jewish school would be distinctively well-suited to meet plaintiff

children’s special needs, both secular and spiritual, each school day. See Kennedy v.

Bremerton Sch. Dist., 142 S.Ct. 2407, 2421 (2022) (“The Clause protects not only

the right to harbor religious beliefs inwardly and secretly. It does perhaps its most



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important work by protecting the ability of those who hold religious beliefs of all

kinds to live out their faiths in daily life . . . .”).

       In any event, that is not a determination for the Court, or even exclusively the

children’s parents, to make. Instead, as the district court recognized, “parents must

work with the LEA in charge of the public schools their children would attend” in

order “[f]or their children to receive the full benefits of the IDEA.” ER48. IEP

teams still have ultimate control over whether to place a student in a private school,

and, if so, which one. All the Court must hold is that California cannot take religious

school options off the table, even when those schools are in the best interests of the

child, merely because the schools are religious. That holding would place religious

schools on the same footing as other educational models that California fully

tolerates for IDEA private placement, including single-sex schools and schools with

other, nonsectarian ideological commitments.




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                                 CONCLUSION

      For the reasons set forth above, and those stated by the appellants, this Court

should reverse.

                                             Respectfully submitted,

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November 1, 2023




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                      CERTIFICATE OF COMPLIANCE

      1. This brief complies with the type-volume limitation of Circuit R. 32-1

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November 1, 2023

                                             s/Mariel A. Brookins
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      I hereby certify that on November 1, 2023, I electronically filed the foregoing

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